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Attorney for WELLS FARGO BANK, N.A.

                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                         §           CASE NO. 19-59740-WLH
                                               §
KEIDRA AIESHA ALI-GADSON                       §
                                               §
         Debtor(s)                             §           CHAPTER 13

     RESPONSE OF WELLS FARGO BANK, N.A. TO DEBTOR’S MOTION TO SELL
                        PROPERTY (DOCKET #36)

         COMES NOW, WELLS FARGO BANK, N.A. (hereafter “Respondent”), a secured

creditor in the above referenced Bankruptcy Case and files this Response to Debtor’s Motion

Sell Property (hereafter "Debtor’s Motion") and shows the Court as follows:

1.       Respondent admits the allegations in Paragraphs 1 through 4 of Debtor’s Motion.

2.       Respondent is without sufficient information to admit or deny the allegations in

         Paragraphs 5 through 9 of Debtor’s Motion.

3.       Respondent does not not oppose the sale if the following conditions are met and included

         in any order from this Court authorizing the sale of the Property:

         a.     The lien of WELLS FARGO BANK, N.A. and/or its assigns or successors in

                interest shall attach to the sales proceeds of the property.

         b.     The sale proceeds shall be distributed to pay in full the outstanding balance on the

                loan owed to WELLS FARGO BANK, N.A. and/or its assigns or successors in

                interest as of the date of closing, which shall be within 90 days of entry of an

                order granting Debtor’s Motion.
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       c.      If there are not sufficient funds to pay the indebtedness in full, WELLS FARGO

               BANK, N.A. and/or its assigns or successors in interest, then the sale shall not

               close unless prior approval of such short sale is received in writing from WELLS

               FARGO BANK, N.A. Otherwise, the Debtor shall be required to seek further

               appropriate orders from this Court.

       d.      The closing agent is ordered to pay the full claim of WELLS FARGO BANK,

               N.A. and/or its assigns or successors in interest directly before any funds are paid

               to the Debtor, or any other party not having priority over the lien of WELLS

               FARGO BANK, N.A. and/or its assigns or successors in interest.

       WHEREFORE, PREMISES CONSIDERED, Respondent prays that this Court allow

Debtor’s Motion only if the conditions stated in Paragraph 3 of this Response are included in an

order from this Court authorizing the sale of the Property, and for any and such further relief to

which Respondent may be justly entitled.



                                             Respectfully submitted,

                                             BARRETT DAFFIN FRAPPIER
                                             TURNER & ENGEL, LLP


                                        BY:/s/ John Callison___________
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                                CERTIFICATE OF SERVICE

  I hereby certify that on August 28, 2020, a true and correct copy of the foregoing RESPONSE

OF WELLS FARGO BANK, N.A.TO DEBTOR’S MOTION TO SELL PROPERTY was served

via electronic means as listed on the Court’s ECF noticing system or by regular first class mail to

the parties listed on the attached list.

                                             /s/ John Callison_____________
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BY ELECTRONIC NOTICE OR REGULAR FIRST CLASS MAIL:

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